USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 1 of 51


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 Estate of ERIC JACK LOGAN,                )
 deceased,                                 )
                                           )
                        Plaintiff.         )
                                           )
                   v.                      )         No. 3:19-cv-495
                                           )
 CITY OF SOUTH BEND and                    )         JURY DEMANDED
 RYAN O’NEILL, in his individual           )
 capacity and his official capacity as a   )
 Sergeant of the South Bend Police         )
 Department,                               )
                                           )
                        Defendant(s).      )

                         NOTICE OF SUPBOENA DUCES TECUM TO
                                BODYWORN by UTILITY

        PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

 October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

 the attached Subpoena Duces Tecum on BodyWorn by UTILITY.

                                                       Respectfully submitted,

                                                       ESTATE OF ERIC JACK LOGAN,
                                                       Deceased

                                                        /s/ Brian W. Coffman
                                                        One of Plaintiff’s Attorneys



 Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
 COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
 26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
 Chicago, IL 60614                                  Merrillville, IN 46410
 (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
 (773) 242-6188 (fax)                               (219) 884-0692 (fax)
 bcoffmanlaw@gmail.com                              Trent@McCain.Law
     USDC
AO 88B          IN/ND
       (Rev. 02/14)       case
                    Subpoena       3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or todocument        18-1
                                                                                 Permit Inspection        filed
                                                                                                   of Premises in a12/06/19
                                                                                                                   Civil Action   page 2 of 51

                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Northern District
                                                      __________  DistrictofofIndiana
                                                                               __________
        Estate of ERIC JACK LOGAN, deceased
                                                                             )
                              Plaintiff                                      )
                                 v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                   )
                                                                             )
                             Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                              BodyWorn by UTILITY Attention: Ted Davis
                                          250 E Ponce de Leon Avenue, Suite 700, Decatur, GA 30030
                                                      (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           SEE ATTACHED EXHIBIT A


  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                     Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                  11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                              Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                          OR
                                                                                                                 /s/ Brian W. Coffman
                                          Signature of Clerk or Deputy Clerk                                       Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
     USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce                                       document
                                        Documents, Information, or Objects or to                18-1
                                                                                 Permit Inspection        filed
                                                                                                   of Premises in a12/06/19         page
                                                                                                                    Civil Action (Page 2)   3 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                              .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                         on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                             for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server’s signature



                                                                                               Printed name and title




                                                                                                  Server’s address

Additional information regarding attempted service, etc.:
     USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce                                       document
                                        Documents, Information, or Objects or to                18-1
                                                                                 Permit Inspection        filed
                                                                                                   of Premises in a12/06/19         page
                                                                                                                    Civil Action(Page 3)          4 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 5 of 51


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 Estate of ERIC JACK LOGAN,                )
 deceased,                                 )
                                           )
                        Plaintiff.         )
                                           )
                   v.                      )    No. 3:19-cv-495
                                           )
 CITY OF SOUTH BEND and                    )    JURY DEMANDED
 RYAN O’NEILL, in his individual           )
 capacity and his official capacity as a   )
 Sergeant of the South Bend Police         )
 Department,                               )
                                           )
                        Defendant(s).      )

                                     EXHIBIT A TO SUBPOENA

         Production: YOU ARE COMMANDED to produce at the time, date, and place set forth
 below the following documents, electronical stored information, or objects, and to permit
 inspection, copying, testing, or sampling of the material:

        1. Any and all correspondence, documents, manuals, trainings, photographs,
           videos, or materials related to the body cameras purchased by the City of South
           Bend or South Bend Police Department at any time.

        2. Any and all videos uploaded to and/or stored by BodyWorn by UTILITY for
           June 16, 2019.

        3. Any and all copies of correspondence between the City of South Bend, South
           Bend Police Department, Ken Garcia, Department Spokesman with South Bend
           Police Department from January 1, 2018 to present.

        4. Copies of any and all contracts, price quotes, contract proposals, and/or signed
           agreements with the City of South Bend, South Bend Police Department, Ken
           Garcia, Department Spokesman with South Bend Police Department from
           January 1, 2018 to present.
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 6 of 51


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 Estate of ERIC JACK LOGAN,                )
 deceased,                                 )
                                           )
                        Plaintiff.         )
                                           )
                   v.                      )         No. 3:19-cv-495
                                           )
 CITY OF SOUTH BEND and                    )         JURY DEMANDED
 RYAN O’NEILL, in his individual           )
 capacity and his official capacity as a   )
 Sergeant of the South Bend Police         )
 Department,                               )
                                           )
                        Defendant(s).      )

                         NOTICE OF SUPBOENA DUCES TECUM TO
                             CENTRAL HIGH APARTMENTS

        PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

 October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

 the attached Subpoena Duces Tecum on Central High Apartments.

                                                       Respectfully submitted,

                                                       ESTATE OF ERIC JACK LOGAN,
                                                       Deceased

                                                        /s/ Brian W. Coffman
                                                        One of Plaintiff’s Attorneys



 Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
 COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
 26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
 Chicago, IL 60614                                  Merrillville, IN 46410
 (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
 (773) 242-6188 (fax)                               (219) 884-0692 (fax)
 bcoffmanlaw@gmail.com                              Trent@McCain.Law
     USDC
AO 88B          IN/ND
       (Rev. 02/14)       case
                    Subpoena       3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or todocument        18-1
                                                                                 Permit Inspection        filed
                                                                                                   of Premises in a12/06/19
                                                                                                                   Civil Action   page 7 of 51

                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Northern District
                                                      __________  DistrictofofIndiana
                                                                               __________
        Estate of ERIC JACK LOGAN, deceased
                                                                             )
                              Plaintiff                                      )
                                 v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                   )
                                                                             )
                             Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                        Central High Apartments
                                                   330 W Colfax Avenue, South Bend, IN 46601
                                                      (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           SEE ATTACHED EXHIBIT A


  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                     Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                  11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                              Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                          OR
                                                                                                                 /s/ Brian W. Coffman
                                          Signature of Clerk or Deputy Clerk                                       Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
     USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce                                       document
                                        Documents, Information, or Objects or to                18-1
                                                                                 Permit Inspection        filed
                                                                                                   of Premises in a12/06/19         page
                                                                                                                    Civil Action (Page 2)   8 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                              .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                         on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                             for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server’s signature



                                                                                               Printed name and title




                                                                                                  Server’s address

Additional information regarding attempted service, etc.:
     USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce                                       document
                                        Documents, Information, or Objects or to                18-1
                                                                                 Permit Inspection        filed
                                                                                                   of Premises in a12/06/19         page
                                                                                                                    Civil Action(Page 3)          9 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 10 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )    No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )    JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )


                                      EXHIBIT A TO SUBPOENA

          Production: YOU ARE COMMANDED to produce at the time, date, and place set forth
  below the following documents, electronical stored information, or objects, and to permit
  inspection, copying, testing, or sampling of the material:


         1. Any and all videos of any portion of the property under video camera
            surveillance at Central High Apartments from June 15, 2019 through June 17,
            2019.

         2. Copies of all written information related to the video camera system of Central
            High Apartment Building located at 330 W Colfax Avenue, South Bend, IN
            including but not limited to the of the individual who is responsible for
            maintaining the system and or company.

         3. A complete list of tenants and corresponding apartment numbers from June 1,
            2019 to June 30, 2019.
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 11 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                          CITY OF SOUTH BEND MAYOR’S OFFICE

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on City of South Bend Mayor’s Office.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 12 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                   City of South Bend Mayor's Office Attention Mayor Pete Buttigieg
                                                 227 W Jefferson Blvd, South Bend, IN 46601
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all communications between Pete Buttigieg and/or his Presidential campaign staff or committee
           members and the Democratic National Committee regarding the police-involved shooting death of Eric Logan
           on June 16, 2019.

  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   13 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            14 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 15 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                           DEMOCRATIC NATIONAL COMMITTEE

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on Democratic National Committee.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 16 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                     Democratic National Committee
                                              430 South Capitol Street SE #3, Washington DC 20003
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all communications of the Democratic National Committee staff or committee members related to the
           2020 Presidential campaign with Pete Buttigieg regarding the police-involved shooting death of Eric Logan on
           June 16, 2019.

  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   17 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            18 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 19 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )        No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )        JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                         FRATERNAL ORDER OF POLICE LODGE #36

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that,

  on October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to

  serve the attached Subpoena Duces Tecum on Fraternal Order of Police Lodge #36.

                                                      Respectfully submitted,

                                                      ESTATE OF ERIC JACK LOGAN,
                                                      Deceased

                                                       /s/ Brian W. Coffman
                                                       One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                      Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                         McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1            5655 Broadway, Ste. 2S
  Chicago, IL 60614                                 Merrillville, IN 46410
  (773) 348-1295 (telephone)                        (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                              (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                             Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 20 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                      Fraternal Order of Police Lodge #36
                                                          PO Box 299, South Bend, IN 46624
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all communication, correspondence, emails, conversation, between the Fraternal Order of Police
           Lodge #36 and City of South Bend or South Bend Police Department regarding the employment of Officer
           Ryan O’Neill and/or the police-involved shooting of Eric J. Logan (DOB 12-26-1964) on June 16, 2019.

  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   21 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            22 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 23 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                           NOTICE OF SUPBOENA DUCES TECUM TO
                                   MEMORIAL HOSPITAL

            PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on Memorial Hospital.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 24 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                             Memorial Hospital
                                                    615 N Michigan Street, South Bend, IN 46802
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           SEE ATTACHED EXHIBIT A


  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   25 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            26 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 27 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )    No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )    JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                                      EXHIBIT A TO SUBPOENA

          Production: YOU ARE COMMANDED to produce at the time, date, and place set forth
  below the following documents, electronical stored information, or objects, and to permit
  inspection, copying, testing, or sampling of the material:

         1. Any and all medical records, photographs, and videos related to the
            investigation of the police-involved shooting of Eric J. Logan (DOB 12-26-1964)
            on June 16, 2019.

         2. Copies of any and all surveillance videos of all entrances to the hospital on June
            16, 2019.
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 28 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                                 METRO HOMICIDE UNIT

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on Metro Homicide Unit.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 29 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                             Metro Homicide Unit
                                                     523 E Jefferson Blvd, South Bend, IN 46617
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all documents, photographs, videos, written notes, reports and investigation reports or materials
           related to the investigation of the police-involved shooting of Eric J. Logan (DOB 12-26-1964) on June 16,
           2019.

  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   30 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            31 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 32 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                                 RADIOREFERENCE.COM

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on Radioreference.com.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 33 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                      RadioReference.com LLC
                                           1150 N Loop 1604 W, Suite 108-556, San Antonio, TX 78248
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Provide copies of any and all dispatch records, audio communication, radio/911 traffic and Spillman messages,
           including police and fire, on June 16, 2019 between the hours of 00:01 and 12:00 and/or audio as it relates to
           Erick J. Logan (DOB 12-26-1964).

  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   34 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            35 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 36 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                              ST. JOSEPH COUNTY CORONER

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 29, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on St. Joseph County Coroner.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 37 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                       St. Joseph County Coroner
                                            227 W. Jefferson Blvd, Suite 1000, South Bend, IN 46601
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all documents, autopsy reports, photographs, videos, and/or materials related to the police- involved
           shooting of Eric J. Logan (DOB 12-26-1964) on June 16, 2019.


  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/29/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/29/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   38 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            39 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 40 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                            NOTICE OF SUPBOENA DUCES TECUM TO
                            ST. JOSEPH COUNTY COMMUNICATIONS

              PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on St. Joseph County Communications.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 41 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                   St. Joseph County Communications
                                                   58266 Downey Avenue, Mishawaka, IN 46544
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all radio/911 traffic and Spillman messages, including police and fire, on June 16, 2019 between the
           hours of 00:01 and 12:00 and/or audio as it relates to Erick J. Logan (DOB 12-26-1964).


  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   42 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            43 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 44 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )        No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )        JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                         ST. JOSEPH COUNTY PROSECUTOR OFFICE

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that,

  on October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to

  serve the attached Subpoena Duces Tecum on St. Joseph County Prosecutor Office.

                                                      Respectfully submitted,

                                                      ESTATE OF ERIC JACK LOGAN,
                                                      Deceased

                                                       /s/ Brian W. Coffman
                                                       One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                      Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                         McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1            5655 Broadway, Ste. 2S
  Chicago, IL 60614                                 Merrillville, IN 46410
  (773) 348-1295 (telephone)                        (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                              (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                             Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 45 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                    St. Joseph County Prosecutor Office
                                                    227 W Jefferson Blvd, South Bend, IN 46601
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all case files, documents, photographs, videos, correspondence and investigation reports or materials
           related to the investigation of the police-involved shooting of Eric J. Logan (DOB 12-26-1964) on June 16,
           2019.

  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
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       (Rev. 02/14)     case
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                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   46 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            47 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
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person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
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regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
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 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
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 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
USDC IN/ND case 3:19-cv-00495-DRL-MGG document 18-1 filed 12/06/19 page 48 of 51


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  Estate of ERIC JACK LOGAN,                )
  deceased,                                 )
                                            )
                         Plaintiff.         )
                                            )
                    v.                      )         No. 3:19-cv-495
                                            )
  CITY OF SOUTH BEND and                    )         JURY DEMANDED
  RYAN O’NEILL, in his individual           )
  capacity and his official capacity as a   )
  Sergeant of the South Bend Police         )
  Department,                               )
                                            )
                         Defendant(s).      )

                          NOTICE OF SUPBOENA DUCES TECUM TO
                               ALLEN COUNTY CORONER

         PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that, on

  October 25, 2019, or as soon thereafter as it may effectuate service, the Plaintiff, intends to serve

  the attached Subpoena Duces Tecum on Allen County Coroner.

                                                        Respectfully submitted,

                                                        ESTATE OF ERIC JACK LOGAN,
                                                        Deceased

                                                         /s/ Brian W. Coffman
                                                         One of Plaintiff’s Attorneys



  Brian W. Coffman, # 28944-71                       Trent A. McCain, #23960-45
  COFFMAN LAW OFFICES, P.C.                          McCAIN LAW OFFICES, P.C.
  26l5 North Sheffield Avenue, Suite # 1             5655 Broadway, Ste. 2S
  Chicago, IL 60614                                  Merrillville, IN 46410
  (773) 348-1295 (telephone)                         (219) 884-0696 (telephone)
  (773) 242-6188 (fax)                               (219) 884-0692 (fax)
  bcoffmanlaw@gmail.com                              Trent@McCain.Law
    USDC
AO 88B         IN/ND
       (Rev. 02/14)      case
                    Subpoena      3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects or document         18-1
                                                                              to Permit Inspection        filedin a12/06/19
                                                                                                   of Premises      Civil Action   page 49 of 51

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Northern District
                                                       __________  DistrictofofIndiana
                                                                                __________
        Estate of ERIC JACK LOGAN, deceased
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 3:19-cv-00495
       CITY OF SOUTH BEND and RYAN O’NEILL                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                           Allen County Coroner
                                                    1 E Main Street, #555, Fort Wayne, IN 46802
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any and all documents, autopsy reports, photographs, videos, and/or materials related to the police- involved
           shooting of Eric J. Logan (DOB 12-26-1964) on June 16, 2019.


  Place: Brian Coffman - COFFMAN LAW OFFICES P.C.                                       Date and Time:
           2615 N Sheffield Ave, Suite. 1                                                                    11/25/2019 9:00 am
           Chicago, IL 60614

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/25/2019

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Brian W. Coffman
                                           Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Estate of ERIC JACK LOGAN, deceased                                      , who issues or requests this subpoena, are:
Brian Coffman-COFFMAN LAW OFFICES P.C.-2615 N Sheffield Ave, Ste. 1, Chicago, IL 60614 (bcoffmanlaw@gmail.com) 773-348-1295

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action (Page 2)   50 of 51

Civil Action No. 3:19-cv-00495

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                             .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                                  ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                    .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                    .

My fees are $                                    for travel and $                           for services, for a total of $                0.00      .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:
    USDC
AO 88B        IN/ND
       (Rev. 02/14)     case
                    Subpoena     3:19-cv-00495-DRL-MGG
                             to Produce Documents, Information, or Objects ordocument        18-1
                                                                             to Permit Inspection       filedin12/06/19
                                                                                                  of Premises                   page
                                                                                                               a Civil Action(Page 3)            51 of 51

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
